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              EDWARD SCOTT and DEBBIE
              RICHARDS, on behalf of
              themselves and all other
              similarly situated.

                     Plaintiffs,

                     V.                                                 5:19-CV-022


              NORTH AMERICAN INNS, LLC;
              SHARMA HOSPITALITY, LLC; PAUL
              D. SHARMA; and SHAUN B. SHARMA,

                     Defendants.


                                                      ORDER


                    Before the Court is Defendants' Motion to Dismiss or in the


              Alternative for Summary Judgment, dkt. no. 5.                  The Motion is fully

              briefed and is ripe for review.               For the reasons that follow, the

              Motion is CONVERTED to a motion for summary judgment.

                                                  BACKGROUND


                    The facts stated herein are taken solely from the allegations

              in   Plaintiffs'      Complaint.        Plaintiffs      Edward   Scott    and   Debbie

              Richards worked at a hotel owned and operated by Defendants.                      Dkt.

              No. 1 SI 3.    Plaintiffs were given residency at the hotel and paid

              between     $37.50-$50.00       every    two    weeks    in   exchange    for    their

              agreement to        work   40   hours   per    week   at the     hotel.    Id.   SI   5.


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(Rev. 8/82)
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Plaintiffs first allege that Defendants violated the Fair Labor

Standards Act (the "FLSA") by failing to compensate Plaintiffs at

a proper straight time rate and to pay Plaintiffs overtime.                  Id.

5   4.      Not    only    were   Plaintiffs   underpaid,   they   allege,   but

Defendants forced Plaintiffs to work overtime by threatening to

kick them, their families, and their belongings out of the hotel

if Plaintiffs refused to work over 40 hours per week.                 Id. 5 8.

In fact.      Plaintiff Scott complained to          Defendants that he      was

working overtime without compensation, and within 24 hours of his

complaint. Defendants forcibly evicted Scott.            Id.   Then, Plaintiff

Richards was terminated and evicted because she refused to follow


Defendants' demand that she not have personal contact with Scott.

Id.      As a result of these actions, Scott and Richards seek damages

for retaliation and intentional infliction of emotional distress.


         Plaintiffs previously filed an action in this Court against

Defendants for violations of the FLSA and retaliation.                Id. f 9.

In that action.           Plaintiffs and    Defendants entered a settlement

agreement.        Id.   Per the terms of that agreement. Defendants first

payment to Plaintiffs was due not later than December 21, 2018.

Id.      Nevertheless, at the time this action was filed. Defendants

had not made any payments.          Id.    As a result of Defendanta' failure

to abide by the terms of the settlement agreement. Plaintiffs seek

damages for breach of contract.
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                              DISCUSSION


        Defendants argue that this action is due to be dismissed

because    Defendant North American Inns, LLC does       not gross over

$500,000 a year, as required to be an entity covered under the

FLSA.    In addition. Defendants argue that this action is due to be

dismissed because Plaintiffs were not employees within the meaning

of the FLSA and were not engaged in interstate commerce within the

meaning of the FLSA.      In support. Defendants attached to their

Motion a document purporting to be the Profit and Loss data for

the hotel for the year of 2017, see dkt. no. 5-1, and a declaration

of Defendant Shaun Sharma, see dkt. no. 5-2.       Plaintiffs' response

brief contests these points and attached to their brief are a

declaration by Richards along with several other documents.

        ^'It is within the judge's discretion to decide whether to

consider matters outside of the pleadings that are presented to

the court."    Jones v. Auto. Ins. Co. of Hartford, Conn., 917 F.2d

1528,. 1531-32 (llth Cir. 1990).      If the court does so, then the

^'district court generally must convert a motion to dismiss into

a motion for summary judgment if it considers        materials   outside

the complaint."    Day v. Taylor, 400 F.3d 1272, 1275-76 (llth Cir.

2005) (citing Fed. R. Civ. P. 12(b)).        Here, matters outside of

the pleadings will be considered by the Court.        Accordingly, this

Motion must be converted to a motion for summary judgment.
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      When   a     district   court    converts   a    motion    to   dismiss   into   a


motion for summary judgment, it must comply with the requirements

of Rule 56 by notifying the parties of the conversion and providing

at   least    10    days   for   the    parties       to   supplement    the    record

accordingly.        Trustmark Ins. Co. v. ESLU, Inc., 299 F.3d 1265,

1267 (11th Cir. 2002).           Thus, Defendants shall have twenty-one

(21) days from the date of this Order to file any supplemental

evidence and briefing.           Plaintiff shall then have fourteen (14)

days to respond.

      For    the    reasons   provided.     Defendant's         motion   to    dismiss,

dkt. no. 5, is CONVERTED into a motion for summary judgment.




      SO ORDERED, this 25th day of June, 2019.




                                 HON.«dLISA GGUBEYl WOOD, JUDGE
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN   DISTRICT OF GEORGIA
